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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
____________________________________

WILLIAM STRICKLAND and                             CASE NO.: 8:19-CV-2138-CEH-SPF
MARCIA MICHAEL,

                            Plaintiffs,

v.

MRS ASSOCIATES, INC.,

                       Defendant.
____________________________________

                                 NOTICE OF COMPLIANCE

        Pursuant to the Court's Order dated October 15, 2019 [ECF No. 15], Bradley R. Armstrong,

hereby certifies that he has paid the $150.00 Attorney Special Admission Fee to the Clerk of the

United States District Court for the Middle District of Florida. He also certifies that he has

complied with the electronic filing requirements of the United States District Court for the Middle

District of Florida.

Dated: October 16, 2019                              /s/ Bradley R. Armstrong
                                                     Bradley R. Armstrong (MN #393524)
                                                     Pro hac vice
                                                     150 South Fifth Street, Suite 1200
                                                     Minneapolis, MN 55402
                                                     Telephone: (612) 877-5359
                                                     Facsimile: (612) 877-5034
                                                     Bradley.Armstrong@lawmoss.com
                                                     Attorney for Defendant MRS Associates, Inc.




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                                 CERTIFICATE OF SERVICE

        The undersigned does hereby certify that a true and correct copy of the foregoing was

served upon the individual(s) listed below by electronic notification via the CM/ECF system on

this 8th day of October, 2019:

        Alexander Taylor
        Sulaiman Law Group
        2500 South Highland Avenue, Suite 200
        Lombard, IL 60148
        Attorney for Plaintiff


Dated: October 16, 2019                             /s/ Bradley R. Armstrong
                                                    Bradley R. Armstrong
                                                    Attorney for Defendant MRS Associates, Inc.




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